                  Case 2:17-cr-00976-AM Document 76 Filed 04/23/18 Page 1 of 5


                                                                                                     ai U
                                   United States District Court                                        APR 2 3 2018
                                            Western District of Texas                            CLERK-TRIçT COURT
                                                        DEL RIO DIVISION

                                                                                                                             CLERK
   UNITED STATES OF AMERICA

                                                                           Case Number:   DR: I 7-CR-00976-I LL(1)
                                                                           USM Number:    19380-179
    IRENE ARVISO MORENO

            Defendant.

                                         JUDGMENT IN A CRIMINAL CASE
                                 (For Offenses Committed On or After November 1, 1987)
    The defendant, IRENE ARVISO MORENO, was represented by Dalila Padilla Paxton.

    On motion of the United States, the Court has dismissed Count(s) Two.

     The defendant pled guilty to Count(s) One of the Indictment on November 2, 2017. Accordingly, the defendant is adjudged
guilty of such Count(s), involving the following offense(s):


Title & Section                       Nature of Offense                             Offense Ended                    Count
8 U.S.C. § 1324                        Conspiracy to Transport Illegal Aliens       08/13/2017                       One


        As pronounced on April 12, 2018, the defendant is sentenced as provided in pages 2 through 5 of this Judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984.

       It is further ordered that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States attorney of any
material change in the defendant's economic circumstances.


        Signed this the 20th day of April, 2018




                                                                                           IVAN L. R. LEMELLE
                                                                                    Senior United States District Judge




         Arresting Agency: HSI    Del Rio
                             Case 2:17-cr-00976-AM Document 76 Filed 04/23/18 Page 2 of 5

                                                                                                                                            Page 2   of 5
AO 245 B   (Rev.   O6/O5).D.TX.) - Probation


DEFENDANT:                     IRENE ARVISO MORENO
CASE NUMBER:                   DR:17-CR-00976-ILL(1)

                                                                     PROBATJON
           The defendant is hereby placed on probation for a term of Three (3) years.


           While on probation, the defendant shall comply with the mandatory, Standard and if applicable, the special conditions that have been
           adopted by this court.


            X         The defendant shall serve a total of 6 months of home confinement.

            X         The defendant shall participate in an Electronic Monitoring Program during the 6 month period of home confinement. The
                      defendant shall abide by the rules and regulations of the Participant Agreement Form. During this time, the defendant shall
                      remain at the place of residence except for employment and other activities approved in advance by the probation officer. The
                      defendant shall maintain a telephone at the place of residence without "caller ID," "call forwarding," "call waiting," "call back/call
                      block," a modem or a portable cordless telephone for the above period as instructed by the probation officer. The defendant
                      shall wear an electronic monitoring device and follow location monitoring procedures specified by the probation officer. The
                      defendant shall pay for the costs of the program if financially able. The Court has advised defendant that if participation on the
                      electronic monitoring program is satisfactory during the first three months, the probation officer may file a modification to this
                      condition.

            X         The defendant shall not use or possess any controlled substances without a valid prescription. If a valid prescription exists, the
                      defendant must disclose the prescription information to the probation officer and follow the instructions on the prescription.

            X         The defendant shall submit to substance abuse testing to determine if the defendant has used a prohibited substance. The
                      defendant shall not attempt to obstruct or tamper with the testing methods. The defendant shall pay the costs of testing if
                      financially able.

            X         The defendant shall not use or possess alcohol.

                      The defendant shall not knowingly purchase, possess, distribute, administer, or otherwise use any psychoactive substances
                      (e.g., synthetic marijuana, bath salts, etc.) that impair a person's physical or mental functioning, whether or not intended for
                      human consumption.

            X          The defendant shall provide the probation officer with access to any requested financial information and authorize the release
                       of any financial information. The probation office may share financial information with the U.S. Attorney's Office.


            X          The defendant shall participate in a mental health treatment program and follow the rules and regulations of that
                       program. The probation officer, in consultation with the treatment provider, shall supervise participation in the
                       program (provider, location, modality, duration, intensity, etc.). The defendant shall pay the costs of such
                       treatment if financially able.

            X          The defendant shall take all mental health medications that are prescribed by the treating physician, as prescribed.

            X          The defendant shall participate in an educational services program and follow the rules and regulations of that
                       program. Such programs may include high school equivalency preparation, English as a Second Language
                       classes, and other classes designed to improve the defendant's proficiency in skills such as reading, writing,
                       mathematics, or computer use. The defendant shall pay for the costs of the program if financially able.
                             Case 2:17-cr-00976-AM Document 76 Filed 04/23/18 Page 3 of 5

AO 245 B   (Rev. 06105)(V'/.D.TX.)   - Probation                                                                                      Page 3   of 6




DEFENDANT:                     IRENE ARVISO MORENO
CASE NUMBER:                   DR:17-CR-00976-ILL(1)

                                                         CONDITIONS OF PROBATION
Mandatory Conditions:

1)    The defendant shall not commit another federal, state, or local crime during the term of supervision.
2)    The defendant shall not unlawfully possess a controlled substance.
3)    The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test within
      15 days of release on probation or supervised release and at least two periodic drug tests thereafter (as determined by the court)
      but the condition stated in this paragraph may be ameliorated or suspended by the court if the defendant's presentence report or
      other reliable sentencing information indicates low risk of future substance abuse by the defendant.

4)     The defendant shall cooperate in the collection of DNA as instructed by the probation officer, if the collection of such a sample is
       authorized pursuant to section 3 of the DNA Analysis Backlog Elimination Act of 2000 (42 U.S.C. § 141 35a).

5)     If applicable, the defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.s.c.
       § 20901, et. seq.) as instructed by the probation officer, the Bureau of Prisons, or any state
                                                                                                      sex offender registration agency in
       which the defendant resides, works, is a student, or was convicted of a qualifying offense.

6)     If convicted of a domestic violence crime as defined in 18 U.S.C. § 3561(b), the defendant shall participate in an approved
       program for domestic violence.

7)     If the judgment imposes a fine or restitution, it is a condition of supervision that the defendant pay in accordance with the
       Schedule of Payments sheet of the judgment.

8)     The defendant shall pay the assessment imposed in accordance with 18 U.S.C. § 3013.

9)     The defendant Shall notify the court of any marital change in the defendant's economic circumstances that might affect the
       defendant's ability to pay restitution, fines or special assessments.

Standard Conditions:

1)    The defendant shall report to the probation office in the federal judicial district where he or she is authorized to reside within 72
      hours of release from imprisonment, unless the court or probation officer instructs the defendant to report to a different
      probation office or within a different time frame. The defendant shall not leave the judicial district without permission of the court
      or probation officer.

2)     After initially reporting to the probation office, the defendant will receive instructions from the court or the probation officer
       about how and when to report to the probation officer, and the defendant shall report to the probation officer as instructed. The
       defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer.

3)     The defendant shall not knowingly leave the federal judicial district where he or she is authorized to reside without first
       gethng permission from the court.

4)     The defendant shall answer truthfully the questions asked by the probation officer.

5)     The defendant shall live at a place approved by the probation officer. If the defendant plans to change where he or she lives
       or anything about his or her living arrangements (such as the people the defendant lives with), the defendant shall notify the
       probation officer at least 10 days before the change. If notifying the probation officer in advance is not possible due to
       unanticipated circumstances, the defendant shall notify the probation officer within 72 hours of becoming aware of a change or
       expected change.

 6)    The defendant shall allow the probation officer to visit the defendant at any time at his or her home or elsewhere, and the
       defendant shall permit the probation officer to take any items prohibited by the conditions of the defendant's supervision that
       are observed in plain view.

 7)    The defendant shall work full time (at least 30 hours per week) at a lawful type of employment, unless excused from
       doing so. If the defendant does not have full-time employment, he or she shall try to find full-time employment, unless
       excused from doing so. If the defendant plans to change where the defendant works or anything about his or her work (such
                                                                                                                                      If
       as the position or job responsibilities), the defendant shall notify the probation officer at least 10 days before the change.
       notifying the  probation officer at least 10 days in advance is not possible due to unanticipated circumstances, the defendant
       shall notify the probation officer within 72 hours of becoming aware of a change or expected change.
                             Case 2:17-cr-00976-AM Document 76 Filed 04/23/18 Page 4 of 5

                                                                                                                                              Page 4        5
AO    245 B (Rev. 06/05)(W.D.TX.) - Probation                                                                                                          of




DEFENDANT:                     IRENE ARVISO MORENO
CASE NUMBER:                   DR:17-CR-00976-(LL(1)

8)       The defendant shall not communicate or interact with someone the defendant knows is engaged in criminal activity. If
         the defendant knows someone has been convicted of a felony, the defendant shall not knowingly communicate or interact
         with that person without first getting the permission of the court.

9)       If the defendant is arrested or questioned by a law enforcement officer, the defendant shall notify the probation officer
         within 72 hours.

10)      The defendant shall not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon
         (i.e., anything that was designed, or was modified, for the specific purpose of causing bodily injury or death to another
         person such as nunchakus or tasers).

11)      The defendant shall not act or make any agreement with a law enforcement agency to act as a confidential human source
         or informant without first getting the permission of the court.

12)       If the probation officer determines that the defendant poses a risk to another person (including an organization), the
         court may require the defendant to notify the person about the risk and the defendant shall comply with that
         instruction. The probation officer may contact the person and confirm that the defendant has notified the person about the
          risk.

13)      The defendant shall follow the instructions of the probation officer related to the conditions of supervision.

14)       If the judgment imposes other criminal monetary penalties, it is a condition of supervision that the defendant pay such
          penalties in accordance with the Schedule of Payments sheet of the judgment.

15)       If the judgment imposes a fine, special assessment, restitution, or other criminal monetary penalties, it is a condition of
          supervision that the defendant shall provide the probation officer access to any requested financial information.

16)       If the judgment imposes a fine, special assessment, restitution, or other criminal monetary penalties, it is a
          condition of supervision that the defendant shall not incur any new credit charges or open additional lines of credit
          without the approval of the court, unless the defendant is in compliance with the payment schedule.

17)       If the defendant is excluded, deported, or removed upon release on probation or supervised release, the term of supervision
          shall be a non-reporting term of probation or supervised release. The defendant shall not illegally reenter the United States. If the
          defendant is released from confinement or not deported, or lawfully re-enters the United States during the term of probation or
          supervised release, the defendant shall immediately report in person to the nearest U.S. Probation Office, or as directed by the
          court.
                                    Case 2:17-cr-00976-AM Document 76 Filed 04/23/18 Page 5 of 5
AO 245   B   (Rev. 06/05)(W.D.TX.)      -   CMP                                                                                                                                     Page 5 of 5



DEFENDANT:                           IRENE ARVISO MORENO
CASE NUMBER:                         DR:17-CR-00976-ILL(1)

                                                           CRIMINAL MONETARY PENALTIES! SCHEDULE

        The defendant shall pay the following total criminal monetary penalties in accordance with the schedule of payments set forth.
Unless the Court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonment. Criminal Monetary Penalties, except those payments made through Federal Bureau of Prisons' Inmate Financial
Responsibility Program shall be paid through the Clerk, United States District Court, 111 E. Broadway, Suite 100 Del Rio, Texas 78840.
        The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

                                                    Assessment                                             Fine                                             Restitution
  TOTAL:                                            $100.00                                                $1,000.00                                        $00


                                                                                    Special Assessment

     It is ordered that the defendant shall pay to the United States a special assessment of $100.00.                                                The debt is incurred immediately.



                                                                                                Fine

The defendant shall pay a fine of $1,000.00. The Court finds the defendant has the present and future ability to pay a reduced fine.

The Court determines that the defendant does not have the ability to pay interest and therefore waives the interest requirement pursuant
to 18 U.S.C. 3612(fl(3).



                                                                                 Schedule of Payments

Fine is due immediately or within the three year probationary period. The Court imposed payment schedule shall not prevent statutorily
authorized collection efforts by the U.S. Attorney. The defendant shall cooperate fully with the U.S. Attorney and the U.S. Probation
Office to make payment in full as soon as possible.




          If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in the priority order or percentage
payment column above. However, pursuant to 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United States is paid.

             If the fine is not paid, the court may sentence the defendant to any sentence which might have been originally imposed. See 18 U.S.C. §3614.

           The defendant shall pay interest on any fine or restitution of more than $2,500.00, unless the fine or restitution is paid in full before the fifteenth day after the date of the
judgment, pursuant to 18 u.s.c. §361 2(f). All payment options may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. §3612(g).

             Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) community restitution, (6) fine interest,
(7) penalties, and (8) costs, including cost of prosecution and court costs.

Findings for the total amount of losses are required under chapters i 09A, 110,      11 OA,   and   11   3A of Title 18 for offenses committed on or after September 13, 1994, but before April 23,
1996.
